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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

WILLIE CORNELIUS WILLIAMS,

        Petitioner,
                                                       Case No. 17-cv-826-wmc
   v.

LOUIS WILLIAMS, II,

        Respondent.


                             JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered denying Willie

Williams’s petition for a writ of habeas corpus under 28 U.S.C. § 2241 and dismissing

this case.




        /s/                                               November 3, 2021
        Peter Oppeneer, Clerk of Court                         Date
